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Dear Judge Meta:
My name is Stefanie chiguer, and I am writing to you personally to ask for
a requesting for an early termination of my probationary period.

I have completed the probation requirements, without any issues and made
it a point to get things done right away, and took it very seriously.

I still remain volunteering, actually I am
now a Co-coordinator for End68 Hoursof Hunger foe the Dracut Community at
the church I had done community service for, and I love it. It was a
wonderful thing for me to have to do, because it gave me a job to do that
helped others and also helped myself mentally and spiritually. I plan to
remain committed to volunteering with them regardless of being on
probation or not.
I am also helping out with many benefits for charity or anyone that had
someone unleaded happen to themselves.

I live in a small town, so when everything came out in newspapers and on
TV about January 6th, everyone in my town had something to say about it.
Not all have been nice to me, and I still face that today. I lost a lot of
friends and family members including my father who had dis-owned me
because of my part in 1/6 with the regretful decision I made to go to
Washington d.c. with people I thought were friends of mine, and I thought
had better judgement and intentions than they did. I regret fully and
completely having gone there. If I was at all political, I would have
known better what was going to happen while being there. It was clearly
incredibly bad judgement on my part.

I fully accepted any and all responsibilities for that decision and I
would like nothing more than to have my probation ended and be able to
move forward with my life, and not have this case hindering in the
shadows.

I believe I am a good person, I work 6 days a week, I raise my two
children, by myself, who unfortunately have had to face their own battles
in school pertaining to my decision to go to D.C. On January 6th. I want
to be ble to fully and completely move forward with my family and move
past this. I have grown from the decision I made and the consequences I
have had to have because of that choice and I know very well I would never
put myself in a position like that EVER again. This was the first time I
had ever been in any kind of trouble at all. That is not who I am, and I
think that is why I so badly want to be done with my probation. I have
stayed on the team, year long.. I filled each and every one. I go back to
the schools around Tuesday to re fill them again. I’ve been helping out
with many benefits in my area on Saturdays. I am happy to be apart of the
community, I really am!
And most of all, at the same time I’m upset with my actions in this, I am
glad I went thru all this because if I hadn’t I wouldn’t be where I am
today, I wouldn’t know who I know today. I wouldn’t have a constant
community role in my community and I absolutely love it !!
I am still going to do this until I can’t.
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I ask for you if you could please dismiss my remaining time on probation.
I learned my lesson 10X over! My kids had to learn there lesson because of
school. The teachers and students were causing some ruckus., and I don’t
think that’s fair they have to still deal with that.
I have completed all my community hours. Paid my fines in full.
I have completed my therapies, unfortunately my insurance has been
inactive but I’ve working on getting it back to be active. I honestly do
find therapy very helpful and I will be continuing with it even if I am
able to get my probation terminated
I will be continuing my time with Andrea Connelly with the backpacks for
the children! And continuing helping out with the benefits we have
scheduled!
Thank you for your time in reading this letter and putting thought into
releasing my remaining time on probation.
Sincerely Yours,
Stefanie Chiguer
